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                                       MEMO ENDORSED




SO ORDERED:

Application GRANTED nunc pro tunc.




_________________________________
Ona T. Wang                 10/19/20
United States Magistrate Judge
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